Case 1:14-cv-00856-RJA-MJR Document 52 Filed 10/05/16 Page 1 of 6
Case 1:14-cv-00856-RJA-MJR Document 52 Filed 10/05/16 Page 2 of 6
Case 1:14-cv-00856-RJA-MJR Document 52 Filed 10/05/16 Page 3 of 6
Case 1:14-cv-00856-RJA-MJR Document 52 Filed 10/05/16 Page 4 of 6
Case 1:14-cv-00856-RJA-MJR Document 52 Filed 10/05/16 Page 5 of 6
Case 1:14-cv-00856-RJA-MJR Document 52 Filed 10/05/16 Page 6 of 6
